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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAI‘I

  GERARD K. PUANA, and RICKY L.             Civil No. CV16-00659 JMS/WRP
  HARTSELL as Trustee of the Florence
  M. Puana Trust,                           NOTICE OF WITHDRAWAL OF
                                            INTERVENOR-APPLICANT
             Plaintiff,                     CITY AND COUNTY OF
                                            HONOLULU’S MOTION FOR
       vs.                                  SANCTIONS UNDER RULE 11;
  KATHERINE P. KEALOHA, LOUIS               CERTIFICATE OF SERVICE
  M. KEALOHA, DONNA LEONG,
  MINH-HUNG “BOBBY” NGUYEN,
  DANIEL SELLERS, NIALL SILVA,
  WALTER CALISTRO, DRU AKAGI,
  JOHN and/or JANE DOES 1-50,

             Defendants.
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    NOTICE OF WITHDRAWAL OF INTERVENOR-APPLICANT CITY AND
   COUNTY OF HONOLULU’S MOTION FOR SANCTIONS UNDER RULE 11

        INTERVENOR-APPLICANT, the City and County of Honolulu, hereby

  WITHDRAWS its Motion for Sanctions under Rule 11.

        DATED: Honolulu, Hawai‘i, September 29, 2020.

                                PAUL S. AOKI
                                Corporation Counsel Designate


                                By: /s/ Audrey L.E. Stanley
                                    AUDREY L.E. STANLEY
                                    STEPHEN D. ATWELL
                                    Deputies Corporation Counsel

                                     Attorneys for Intervenor-Applicant
                                     CITY AND COUNTY OF HONOLULU




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                    IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAI‘I

  GERARD K. PUANA, and RICKY L.               Civil No. CV16-00659 JMS/WRP
  HARTSELL as Trustee of the Florence
  M. Puana Trust,                             CERTIFICATE OF SERVICE

              Plaintiff,

       vs.
  KATHERINE P. KEALOHA, LOUIS
  M. KEALOHA, DONNA LEONG,
  MINH-HUNG “BOBBY” NGUYEN,
  DANIEL SELLERS, NIALL SILVA,
  WALTER CALISTRO, DRU AKAGI,
  JOHN and/or JANE DOES 1-50,

              Defendants.


                              CERTIFICATE OF SERVICE

        I hereby certify that, on the date and by the methods of service noted below, a

  true and correct copy of the foregoing was served on the following at their last known

  addresses as shown below:

        Served Electronically through CM/ECF:

        ERIC A. SEITZ, ESQ.                     eseitzatty@yahoo.com
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         Attorneys for Plaintiffs
Case 1:16-cv-00659-JMS-WRP Document 88 Filed 09/29/20 Page 4 of 4   PageID #: 274




        Served via U.S. Mail, Postage Prepaid:

        KATERINE P. KEALOHA
        #06014-122
        FDC Honolulu
        Federal Detention Center
        Inmate Mail/Parcels
        P.O. Box 30080
        Honolulu, Hawaii 96820

         Defendant


        LOUIS M. KEALOHA
        Kahala Beach Apartments
        499 Kahala Avenue, Unit 171
        Honolulu, Hawaii 96816

         Defendant

        DATED: Honolulu, Hawai‘i, September 29, 2020.

                                 PAUL S. AOKI
                                 Corporation Counsel Designate

                                 By: /s/ Audrey L.E. Stanley
                                     AUDREY L.E. STANLEY
                                     STEPHEN D. ATWELL
                                     Deputies Corporation Counsel

                                      Attorneys for Intervenor-Applicant
                                      CITY AND COUNTY OF HONOLULU




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